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Sneed Exhibit 8
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From:              Sneed William M.
To:                Schwartz Joshua R; Russell Christine G.
Subject:           RE: [EXTERNAL] Proposed Call Tomorrow
Date:              Wednesday, December 18, 2019 8:23:00 AM
Attachments:       image001.png


It works, and I will circulate a call-in.

WILLIAM M. SNEED


SIDLEY AUSTIN LLP
+1 312 853 7899
wsneed@sidley.com


         From: Schwartz, Joshua R <Joshua.Schwartz@chubb.com>
         Sent: Wednesday, December 18, 2019 8:21 AM
         To: Russell, Christine G. <Christine.Russell@brandywineholdings.com>
         Cc: Sneed, William M. <wsneed@sidley.com>
         Subject: RE: [EXTERNAL] Proposed Call Tomorrow

         Bill, does 9 am your time work for a call today? If so, can you please circulate a dial in?

         Thanks, Josh



         Joshua R. Schwartz
         Managing Counsel - Director of Reinsurance Litigation

         436 Walnut Street, Philadelphia, PA 19106
         O 215-640-2107 M 267-449-6058    F 215-640-4020

         ACE and Chubb are now one.


         From: Russell, Christine G.
         Sent: Wednesday, December 18, 2019 7:55 AM
         To: Schwartz, Joshua R
         Cc: Sneed, William M.
         Subject: Re: [EXTERNAL] Proposed Call Tomorrow

         10:00 works best for me.

         Christine Russell


         On Dec 17, 2019, at 10:41 PM, Schwartz, Joshua R <Joshua.Schwartz@chubb.com> wrote:

                 Hi Bill, I’m copying in Christy who would like to join the discussion. Christy, when are you available tomorrow to talk? I am free
                from 10-11 est and then after noon until 3.

                Thanks, Josh

                Sent from my iPhone


                On Dec 17, 2019, at 6:02 PM, Sneed, William M. <wsneed@sidley.com> wrote:


                        Josh:

                        Do you have some time to speak tomorrow morning about the conflict claim Chubb has raised as respects Boy Scouts
                        of America?

                        WILLIAM M. SNEED


                        SIDLEY AUSTIN LLP
                        One South Dearborn
                        Chicago, IL 60603
                        +1 312 853 7899
                        wsneed@sidley.com
                        www.sidley.com
                        <image001.png>
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